                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                   1:12 CR 119


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
AMANDA CECILE TONEY,                          )
                                              )
                  Defendant.                  )
____________________________________          )


       THIS MATTER came on before the undersigned on December 20, 2012

pursuant to a Motion to Modify Terms of Pretrial Release (#17) filed by counsel for

Defendant. At the call of this matter on for hearing it appeared that Defendant was

present with her counsel Charles R. Brewer, and the government was presented through

Assistant United States Attorney Thomas Ascik. After hearing arguments of counsel

for Defendant and the Assistant United States Attorney, the undersigned has determined

for the reasons set forth in the oral record to deny Defendant’s motion without

prejudice.

                                      ORDER

       IT IS, THEREFORE, ORDERED that the Motion to Modify Terms of Pretrial

Release (#17) is hereby DENIED without prejudice.

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                                           Signed: January 2, 2013




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